Case 5:16-cv-10444-JEL-EAS ECF No. 997-7, PageID.25882 Filed 11/15/19 Page 1 of 3




                         Exhibit 6




                                                 Exhibit 6
Case 5:16-cv-10444-JEL-EAS ECF No. 997-7, PageID.25883 Filed 11/15/19 Page 2 of 3




              Chicago I Denver I Detroit I Edwardsville I Indianapolis I Kansas City I Los Angeles I Miami I Minneapolis
                         New Orleans I New York I Portland I St. Louis I Seattle I Tampa Bay I Walnut Creek



 April 17, 2019                                                                                                Matthew T. Wise
                                                                                                Direct Dial: (248) 721-8152
                                                                                                 mwise@foleymansfield.com


James M. Campbell                                                    Susan E. Smith
John A.K. Grunert                                                   Beveridge & Diamond, P.C.
Campbell, Conroy & O"Neil, P.C.                                     13501 1Street N.W.,
One Constitution Center                                             Suite 700
Boston, MA 02129                                                    Washington, D.C. 20005
jmcampbell@campbell-trial-lawyers.com                               ssmith@bdlaw.com
jgrunert@campbell-trial-lawyers.com
Paul F. Novak                                                       J. Brian MacDonald
Weltz & Luxenberg, P.C.                                             Cline, Cline & Griffin, P.C.
The Fisher Building                                                 Mott Foundation Building
3011 West Grand Blvd., Ste. 2150                                    503 S. Saginaw Street, Ste. 100
Detroit, MI 48202                                                   Flint, MI 48502
pnovak@weitzlux.com                                                 bmacdonald@ccglawyers. com


Re:      KWA Non-Party Documents-Only Subpoena
Counselors:

Attached with this correspondence you will find written responses and accompanying documents
to the Non-Party Documents-Only Subpoena submitted to the Karegnondi Water Authority
(''KW A"). Per our discussions and correspondences, the attachments encompass Phase I of the
                                             March 19, 2019.
responses, agreed upon by the parties on or about                  For your reference, these
documents are   Bates No.,Phase I KWA NonParty     SubResponse" 000001 through 001545.

As you know, I have also made available documents produced in response to putative Class
Plaintiffs' First Request for Production of Documents to Jeffrey Wright. These documents
include documents that are responsive to the subpoena to KW A and we have produced them
again in good faith and to parties that were not a part of the original production request via e-
mail and electronic link correspondence on            April 4, 2019.
                                                              Specifically, this production refers to
Bates No. WRIGHT- 000001 through                    WRIGHT 578813.

                                         Phone (248) 721-4200 Fax (248) 721-4201
                                        130 East Nine Mile Road Ferndale, MI 48220
                                                   www.foleymansfield.com
Case 5:16-cv-10444-JEL-EAS ECF No. 997-7, PageID.25884 Filed 11/15/19 Page 3 of 3


April 17, 2019
                                                                       FOLEY@MANSFIELD
Page 2


The Phase I production and the reproduction of the WRIGHT documents comprises documents,
as indicated in the attached written responses, to the following subpoena requests:

##3, 6, 9, 12, 13, 14, 15, 16,   17, 18, 19,20, 21. 22, 23, 25. 31, 32, 33, 35, 34, 36, 37, 38, 39, 40,
41,42, 43, 44,45, 46, 47.
The remainder of the subpoena responses will be produced in Phase II of the production. To that
end, the second phase of production is expected to be much larger than Phase I. My client
anticipates that the reasonable cost and expense of producing these items and all of the items
responsive to the KW A subpoena to be       between $20,000 and $30,000. As such, KW A explicitly
requests and reserves its right to be reimbursed for this non-party subpoena pursuant to the
Federal Rules and the Court's Order Regarding Non-Party Documents-Only Subpoenas (Dkt.
501,[6). These documents will be produced in the most economical means as possible.
Finally, pursuant to the Court's Order Regarding Non-Party Documents-Only Subpoenas, as the
issuing attorneys receiving this non-party production, you are to notify other counsel and provide
copies to them upon written request for the same. KW A nor its counsel will be making any
further production of these documents to other parties in this matter.

Should any of you have any questions, please contact me.

Very truly yours,

/s/Matthew T. Wise
Matthew T. Wise

cc:    Gregory M. Meihn
       Kevin Kilby
       Joseph Galvin
